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1          The Court finds that :
2          A.      ‫܈‬     Defendant has not carried his burden of establishing by clear
3    and convincing evidence that Defendant will appear for further proceedings as
4    required if released. See 18 U.S.C. § 3142(b-c)]. This finding is based on:
5               ‫ ܈‬allegations in the petition:
6               ‫ ܈‬prior felony escape conviction and prior violations of court-ordered
7               supervision
8               ‫ ܈‬prior evading law enforcement
9
           Thus, Defendant has not demonstrated a willingness to abide by court orders
10
     and the Court is not convinced that the defendant will abide by its order to appear
11
     for future court appearances if released on bail.
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14         B.      ‫܈‬     Defendant has not carried his burden of establishing by clear
15         and convincing evidence that Defendant will not endanger the safety of any
16         other person or the community if released. See 18 U.S.C. § 3142(b-c). This
17         finding is based on:
18              ‫ ܈‬allegations in the petition
19              ‫ ܈‬prior felony escape conviction and prior violations of court-ordered
20              supervision
21              ‫ ܈‬prior evading law enforcement.
22
23         It is therefore ORDERED that Defendant Marquis Cunningham is
24   remanded to the custody of the U.S. Marshal to be transported to the United States
25   District Court for the Southern District of California for further proceedings. Both
26   government counsel and counsel for the Defendant are directed to follow up
27   with government counsel in the charging district regarding the Defendant’s
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1    next scheduled appearance, and the status of the Defendant’s transportation
2    to, and arrival in, the charging district for the appearance.
3          The Defendant will be committed to the custody of the Attorney General for
4    confinement in a corrections facility separate, to the extent practicable, from
5    persons awaiting or serving sentences or being held in custody pending appeal.
6    The Defendant will be afforded reasonable opportunity for private consultation
7    with counsel. On order of a Court of the United States or on request of any
8    attorney for the Government, the person in charge of the corrections facility in
9    which the Defendant is confined will deliver the Defendant to a United States
10   Marshal for the purpose of an appearance in connection with a court proceeding.
11   See 18 U.S.C. § 3142(i).
12   Dated: November 3, 2021
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14                                                  / S    /
                                      _______________________________
15                                    PATRICIA DONAHUE
                                      UNITED STATES MAGISTRATE JUDGE
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